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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                               CRIMINAL ACTION

VERSUS                                                                 NO. 03-0257

LOUIS BROWN                                                            SECTION “K”(2)


                                    ORDER AND OPINION

       Before the Court is the “Motion for Sentence Reduction Under Title 18 United States Code

§3582(c)(2)” filed on behalf of defendant Louis Brown (Doc. 1445). Having reviewed the

pleadings, memoranda, and relevant law, the Court, for the reasons assigned, DENIES the motion.

       Louis Brown pleaded guilty to one count of conspiracy to possess with intent to distribute

5 kilograms or more of cocaine hydrochloride and 50 grams or more of cocaine base, one count of

possession with intent to distribute more than 5 grams of cocaine base, and one count of use of a

communication facility in a drug trafficking offense. The Court sentenced defendant, in pertinent

part, to a 160 month term of imprisonment on the conspiracy count and the possession count and

to a 48 month term of imprisonment on the remaining count. The Court ordered that all of the terms

of imprisonment be served concurrently. Doc. 1132. The 160 month term of imprisonment

represented a downward departure from the sentencing guideline range of 235 to 293 months.

Thereafter the Court denied defendant’s attempt to have his sentence reduced concluding that the

sentence imposed on defendant “was less than the guideline range applicable to the defendant at the

time of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is

comparably less than the amended guideline range.” Doc. 1290

       Defendant now seeks a sentence reduction under 18 U.S.C. §3582(c)(2) urging the Court

to “use its discretion and grant relief based on the amended change to the drug quantity ration used
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to calculate the narcotic that the Defendant was held accountable for.” Doc. 1445. Defendant urges

that the Court should abandon the “archaic 100 to 1 drug quantity table” used because his drug

trafficking offenses involved cocaine base and should instead use a “1 to 1 ratio to calculate the

amount of narcotic the defendant was accountable for.” The Court carefully considered the relevant

facts and law in sentencing defendant to a 160 month term of imprisonment on the drug trafficking

convictions, and again carefully considered the facts and law in denying defendant relief in its

August 4, 2008 “Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C.

§3582(c)(2).” In the current motion to reduce sentence defendant has not cited any law or

circumstances warranting a reduction of his sentence. Accordingly, the motion is DENIED.

       New Orleans, Louisiana, this 11th day of July, 2011.




                                                          STANWOOD R. DUVAL, JR.
                                                      UNITED STATES DISTRICT JUDGE




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